      Case 6:21-cv-00043-ADA-JCM Document 2-4 Filed 01/19/21 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                               WACO DIVISON

 LATINOS FOR TRUMP, BLACKS                 §
 FOR TRUMP, JOSHUA MACIAS,                 §
 M.S., B. G., J.B., J.J.,                  §
                                           §
       Plaintiffs.                         §
                                           §
                                           §
 v.                                        §       CIVIL ACTION NO. 6:21-CV-43
                                           §
 PETE SESSIONS, MITCH                      §
 McCONNELL, NANCY PELOSI,                  §
 MARK ZUCKERBERG, CHUCK                    §
 SCHUMER, ALEXANDRIA                       §
 OCASIO-CORTEZ, BRAD                       §
 RAFFENSPERGER, ALL                        §
 MEMBERS OF THE 117TH U.S.                 §       JURY TRIAL REQUESTED
 CONGRESS, et al.,

       Defendants.

                      TEMPORARY RESTRAINING ORDER

After considering Plaintiff’s Motion for Temporary Restraining Order against

Defendants, who are the members of the illegitimate 117th Congress, as well as the

pleadings and affidavits, the Court FINDS as follows:

      1.     Plaintiffs will likely suffer the following immediate and irreparable

injury, loss, or damage: (1) lose the ability to a government by consent of the governed

by virtue of being deprived of the fundamental right to vote in federal elections; and

(2) suffer severe financial harm without the ability to collect damages because of the

risk that the United States will cease to be safe have for the capital assets of investors




                                               1
     Case 6:21-cv-00043-ADA-JCM Document 2-4 Filed 01/19/21 Page 2 of 3




and that the economy is likely to remain unstable if controlled by an illegitimate

government.

         2.       This injury is irreparable because it would be impossible to calculate an

appropriate amount of monetary damages to compensate Plaintiffs for the loss of the

right to a government by consent of the governed and the financial harm that would

ensue with a way to recover monetary damages.

3. This ex parte order is granted without notice to the Defendants because giving

notice of a hearing risks that Defendants may destroy evidence and because it would

be impracticable to serve the numerous amount of Defendants

For these reasons, the Court ORDERS the following:

   (1)        All members of the 117th US Congress, named as Defendants herein are
              temporarily enjoined from taking any further legislative action, including
              the passing of bills into law and any other function;

   (2)        All actions taken by the members of 117th US Congress since January 3,
              2021, including but not limited to:

              a) All actions taken under Title 3 of the United States Code in counting the
                 Electoral College votes and confirming Joe Biden as President-Elect;

              b) All actions taken to impeach and convict the 45th President Donald John
                 Trump;

              are hereby temporarily enjoined such that they have no lawful effect,

   (3)        The inauguration of Joe Biden as President of the United States, set to take
              place on January 20th, 2021, being caused by the actions of potentially
              illegitimate Congress, is hereby temporarily enjoined from occurring;

   (4)        The Department of Justice, the Federal Bureau of Investigation, and any
              other federal agency are hereby temporarily enjoined from arresting and/or
              holding in custody Plaintiff’s undersigned lead counsel, Paul M. Davis and
              co-counsel, Kellye SoRelle, and any plaintiff or potential witness in relation
              to their exercise of their own exercise of civil rights by their attendance at



                                               2
     Case 6:21-cv-00043-ADA-JCM Document 2-4 Filed 01/19/21 Page 3 of 3




           the January 6, 2021 protest in Washington, D.C. absent a showing for good
           cause by clear and convincing evidence that said counsel committed some
           overt and intentional act of violence that directly resulting in substantial
           injury to the person of another, as such actions would amount to nothing
           more than an effort to intimidate and silence Plaintiffs and deprive them of
           the exercise of civil rights to bring this action under 42 U.S.C. §§ 1983, 1985,
           1986 and their rights under the Constitution and which would amount to
           further civil rights violations by public officials acting under color of the law;
           and;

   (5)     It is further Ordered that President Donald J. Trump shall take all
           reasonable and necessary action consistent with the Take Care Clause of
           Article II, Section 1 and all the original intents and purposes of the
           Constitution of the United States to preserve the lawful and orderly
           continuity of government while this Order is in effect and this matter is
           pending.

         5. The clerk to issue notice to Defendants, who are the so-called members of

the 117th U.S. Congress as named in the Complaint and attached hereto, that the

hearing on Plaintiff’s request for preliminary injunction is set for ___________, 2021,

at ___ a.m./p.m.

6. Plaintiff to post bond in the amount of $___________.

This order will expire on ___________                    , 2021.



SIGNED on ___________               , 2021, at ___        a.m./p.m.




U.S. DISTRICT JUDGE




                                              3
